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                              EXHIBIT 15
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 of patients injured by handguns and assault rifles I am very familiar with
 how wounds from these weapons differ and their relative killing capacity.
 My curriculum vitae, attached here, describes all of my experiences as well
 as my academic production including published manuscripts, abstracts and
 international presentations as well as the leadership positions in which I
 have served.
     III.   Devastating effects of assault rifles versus handguns
 During each of my 3 deployments, I was required to qualify on a targeted
 shooting range and carry a 9mm Baretta essentially at all times. As a
 surgeon, the Army requires me to carry a 9mm Baretta for self-defense.
 This differs from the deployed warfighter who, at a minimum, carries an M-
 4 assault rifle which has the capacity to kill numerous enemies rapidly.
 The killing capacity of a weapon is primarily determined by the kinetic
 energy imparted by the bullet, its effective range and the rate at which the
 weapon fires projectiles. Kinetic energy is determined by the equation
 E=1/2mass X velocity. 1 The muzzle velocity of an AR-15 is approximately
 3200 feet per second (https://www.80lowerjig.com/80-lower-blog/the-ar-
 15-picking-the-best-barrel-length-twist-rate) compared to 1200 feet per
 second for a 9mm Baretta (https://man.fas.org/dod-101/sys/land/m9.htm ).
 The kinetic energy of a 9mm Baretta is estimated to be approximately 400
 foot pounds compared to 1303 foot pounds for an AR-15. 2 When a
 projectile fired from an AR-15 penetrates the human body, it creates a
 temporary cavity with devastating effects to surrounding organs. See fn1 at
 692. In my experience, assault rifle blasts to the head, neck or trunk are
 usually lethal especially in the absence of personal protective equipment
 like a Kevlar helmet and body armor. Patients with assault rifle injuries
 frequently have multiple organs injured as well as major blood vessels.
 They frequently require massive blood transfusions due to tremendous
 blood loss and they require a series of operations instead of just one as is
 common with handguns. When they survive, they require prolonged
 hospitalizations and follow-up and they suffer much greater disability
 which frequently persists for the rest of their shortened lives. Assault rifle
 blasts to the extremities frequently result in amputations. Due to lower
 kinetic energy, handgun injuries produce much less harm to the human body
 and are generally survivable unless the bullet penetrates a critical organ or

 1 Stefanopoulos PK, Mikros G, Pinialidis DE, et al. Wound Ballistics of
 Military Rifle Bullets: An Update on Controversial Issues and Associated
 Misconceptions. Journal of Trauma and Acute Care Surgery.
 2019;87:696.
 2 Rhee PM, Moore EE, Joseph B, et al. Gunshot Wounds: A Review of

 Ballistics, Bullets, Weapons and Myths. Journal of Trauma and Acute
 Care Surgery. 2016;80:856.
                                                                             2

                                                                   VIRAMONTES 003959
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 major blood vessel. Most lethal injuries from handguns occur from very
 short distances. In my civilian experience, many patients with hand gun
 injuries have minor injuries that do not require any surgery and they are
 discharged from the emergency department. Contrary to my deployed
 experience, patients with handgun injuries who require operative therapy
 have a very high survival rate.
 The effective range of an A-R15 is approximately 400 - 500 yards compared
 to up to 50 yards for a typical handgun (See fn 1 at 690). I have personally
 witnessed a soldier instantly killed by an assault rifle fired from hundreds
 of yards away by a single bullet that penetrated his mouth and spinal cord.
 Assault rifles can fire hundreds of rounds per minute in automatic mode
 compared to a single shot when the trigger of a handgun is pulled. The
 combination of high kinetic energy, deadly accuracy at great distance and
 the ability to fire rapid rounds results in maximum killing. This is
 exemplified by the 2017 Las Vegas shooting during which a single
 individual was able to fire hundreds of rounds each minute for 10 minutes,
 killing 58 people and wounding over 800 more from a 32nd floor suite at a
 local hotel firing into a crowd at an open-air concert. 3 The weapons utilized
 were primarily assault type rifles utilizing bump stocks allowing them to
 fire at a rate similar to automatic weapons. 4 This was the most lethal mass
 shooting in US history.
     IV.    Conclusions
 Assault type weapons are designed for the sole purpose of maximum
 killing in wartime settings. They are deadly accurate weapons with
 enormous destructive capacity and can be fired at a rate of hundreds of
 rounds per minute. The injuries produced by assault type weapons
 frequently exceed the capacity of civilian trauma systems and trauma
 surgeons to treat and have a very high mortality. I declare under penalty
 of perjury that the foregoing is true and correct.
 CASES IN WHICH I PARTICIPATED AS A WITNESS IN THE
 LAST 4 YEARS
 2022
 Jorge Mata, et al vs Kavita Kalra, et al
 Court System: Circuit Court for Baltimore City - Civil System
 Case No: 24C21000799

 3 Federal Emergency Management Agency. 1 October After-Action
 Report of August 24, 2018 events.
 4 Horton A. The Las Vegas Shooter Modified a Dozen Rifles to Shoot Lke

 Automatic Weapons. The Washington Post. October 3, 2017 at 10:37
 p.m. EDT.
                                                                             3

                                                                   VIRAMONTES 003960
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 Durst, Lisa, et al. v Dimensions Health Corporation, et al
 Court System: Circuit Court for Prince George's County - Civil System
 Case No: CAL20-12015

 Martin Mendoza v Dignity Health, et al
 Court System: Superior Court of Arizona - Maricopa County
 Case No: CV2021-002097

 Linda Marie Bowen – Provided opinion
 Chaston v. RCH Alexander
 Court System: Multnomah County Circuit Court
 Case No: 19CV01550

 Jackson Memorial Hospital in Miami, FL – Asked by institution to review
 quality of care
 2021
 Fritz – Did not go to trial

 Babcock v. Legacy Emanuel Hospital & Health Center, et al.
 Court System: Multnomah County Circuit Court
 Case No: 21CV20733

 Bauer v. Norfleet
 Court System: Cook County Circuit Court – Illinois
 Case No: 2017-L-010460

 Williams – Did not go to trial

 Roy Shaw vs. OSF Healthcare System d/b/a St. Francis Medical Center,
 The Peoria Surgical Group, Ltd.
 Court System: Peoria County Court – Illinois
 Case No: 20-L-00171

 Hulda Stebbins vs. OSF Healthcare System, Robin Alley, MD
 Court System: Peoria County Court – Illinois
 Case No: 20-L-00177

 2020
 Miller/Kristina M. Hull (closed case, no official case name available)
 Court System: Clallam District Court II
 Case No: 1A0509632

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                                                                 VIRAMONTES 003961
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 Martindale v Indiana University Health, et al
 Court System: US District Court – Southern District of Indiana,
 Indianapolis Division
 Case No: 1:19-cv-00513-RLY-DML


 Schiffbauer v OSF Healthcare System, et al
 Court System: Cook County Circuit Court – Illinois
 Case No: 2020L001298

 John Sandstrom v Salem Health et al
 Court System: Multnomah County Circuit Court
 Case No: 19CV02923

 Kelly White v Providence Health & Services – Oregon; et al
 Court System: Multnomah County Circuit Court
 Case No: 18CV19321

 Nadrau v Bax MD
 Court System: Spokane County Superior Court
 Case No: 17-2-02562-8

 2019
 Gordon vs Reading Hospital and Medical Center, Wayne C Devos, MD,
 Frank M Carter, MD, Berks Colorectal Surgical Associates
 Court System: Berks County Court of Common Pleas
 Case No: 12-17768

 Welborn vs Sarah Bush Lincoln Health Center, et al
 Court System: Coles County Circuit Court
 Case No: 2016-L-8

 Tatham vs Hualapai Mountain Medical Center LLC, Hualapai Emergency
 Partners PLLC and Bruce K Adams, MD
 Court System: Superior Court of Arizona - Maricopa County
 Case No: CV2012-005215

 Izenberg v. Scottsdale Hospital, et al
 Court System: Superior Court of Arizona - Maricopa County
 Case No: CV2010-000915

 Vasily Kobel vs. City of Portland, James Botaitis, Steven Wuthrich, and
 DOES 1-10

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                                                                   VIRAMONTES 003962
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 Court System: United States District Court for the District of Oregon
 Case No: CV-08-986-KI

 Hale v OSF Healthcare System, et al
 Court System: Peoria County Court – Illinois
 Case No: 17-L-7

 Dametria Hartage vs Mark Zweban, MD and Delaware Cardiovascular
 Associates and Wilmington Hospital/Christiana Care Health Services.
 Court System: Superior Court of the State of Delaware – New Castle
 County
 Case No: N18C-06-005-CEB

 Barbara Henry v PeaceHealth Southwest Medical Center – Did not go to
 trial
 Knutson v Erdman, et al
 Court System: Superior Court of Washington – Kittitas County
 Case No: 18-2-00115-6

 Sharp v. OSF Healthcare System, et al
 Court System: Peoria County Court – Illinois
 Case No: 17-L-316

 Sincerely,




 Martin A. Schreiber MD FACS FCCM
 COL, MC, USAR
 Adjunct Professor of Surgery, Uniformed Services of the Health Sciences
 Professor of Surgery
 Chief, Division of Trauma, Critical Care & Acute Care Surgery
 Director, Donald D. Trunkey Center for Civilian & Combat Casualty Care




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        Acting Instructor - Dept of Surgery, University of Washington, 7/94-6/95
        Assistant Professor of Surgery - Texas Tech University Health Science Center,
        3/96-10/99
        Clinical Assistant Professor of Surgery - Uniformed Services University of the
        Health Sciences, 2/96-Present
        Assistant Professor of Surgery – Baylor College of Medicine, 10/99-11/01
        Professor of Surgery – Oregon Health & Science University, 7/08-Present
        Major United States Army Reserve 2004 – 2007
        Lieutenant Colonel United States Army Reserve 2007- 2012
        Colonel United States Army Reserve 2012 – Present
        Professor Physiology and Pharmacology – Oregon Health & Science University,
        2014 – Present
        Senior Scientist in the OHSU Center for Regenerative Medicine under the Senior
        Vice President for Research, 2014 - Present

 LICENSURE

        To Practice Medicine in the State of Oregon – MD23540

 MILITARY TRAINING

        Army Officer Basic Course - Silas B. Hays Army Hospital Fort Ord, California
        1985
        US ARMY Airborne Course - Fort Benning, GA 1986
        ATLS - Fort Sam Houston, TX 1989
        ATLS Instructor - Fort Carson, CO 1996
        ATLS Director - Fort Sam Houston, TX 1997
        ATLS State Faculty – WBAMC 1999
        Armed Forces Combat Casualty Care Course - Fort Sam Houston, TX 1989
        Instructor Bushmaster Course - Camp Bullis, TX 1996
        Combat Trauma Surgical Team - Ben Taub General Hospital September 1998
        Commander Combat Trauma Surgical Team – Ben Taub General Hospital
        February 1999
        Director Army Military Civilian Trauma Team Training Program (AMCT3)–
        Oregon Health & Science University 2018 - Present

 PROFESSIONAL SOCIETY MEMBERSHIPS

        Alpha Omega Alpha Honor Society
        American College of Surgeons - Fellow
        Washington State Chapter of the American College of Surgeons 1994-1995
        The Henry N. Harkins Surgical Society
        Associate Member of the American College of Surgeons Washington
        Committee on Trauma 1994-1995
        Member of Harborview Medical Center Trauma Council 1994-1995




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        Eastern Association for the Surgery of Trauma
        American Association for the Surgery of Trauma
        American Trauma Society
        Association for Academic Surgery – Active Member
        Society of Critical Care Medicine
        The Shock Society
        Oregon State Chapter of the American College of Surgeons
        President – Oregon Chapter of the Society of Critical Care Medicine 2003 – 2004
        Western Trauma Association
        Society of University Surgeons
        Secretary - Treasurer Portland Surgical Society 2004 - 2008
        Pacific Coast Surgical Association
        North Pacific Surgical Association
        President - Portland Surgical Society 2008 – 2009
        Society of Clinical Surgeons
        American Surgical Association
        Western Surgical Association

  COMMITTEE MEMBERSHIPS

        Special Care Line Action Team - William Beaumont Army Medical Center 1995-
        1999
        Chief, Trauma Committee – William Beaumont Army Medical Center 1997-
        1999
        Human Use Subcommittee - William Beaumont Army Medical Center 1995-
        1999
        Institutional Animal Care and Use Committee – William Beaumont Army
        Medical Center 1995-1999
        Breast Cancer Prevention and Detection Action Team, Military Region VII 1995-
        1996
        Trauma Research Program - William Beaumont Army Medical Center 1996-
        1999
        Far West Texas and Southern New Mexico Regional Area Council on Trauma
        1996-1999
        Chairman Hospital Audit Committee of the Far West Texas and Southern New
        Mexico Regional Area Council on Trauma 1997-1999
        Executive Board of the Far West Texas and Southern New Mexico Regional Area
        Council on Trauma 1997-1999
        Research Committee - R. E. Thomason General Hospital 1997-1999
        Military Combat Trauma Surgical Committee 1997-1999
        Publication Committee for Gary P. Wratten Surgical Symposium 1999
        Chairman, Trauma Morbidity and Mortality Committee Ben Taub General
        Hospital 1999 – 2001
        Trauma Executive Committee Ben Taub General Hospital 1999 – 2001
        Pharmacy and Therapeutic Committee Harris County Hospital District 1999 –
        2001




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        Southeast Texas Regional Advisory Committee 1999 – 2001
        Process Improvement Subcommittee of the Southeast Texas Trauma Regional
        Advisory Committee 1999 – 2001
        Chairman of the Grants Committee of the Southeast Texas Trauma Regional
        Advisory Committee 2000 – 2001
        Trauma Center Grant Steering Committee – Baylor College of Medicine 2000 –
        2001
        Baylor College of Medicine’s Graduate Medical Education Committee 2000 –
        2001
        American College of Surgeons South Texas Committee on Trauma 2001
        Member of the Policy on House Staff Review Subcommittee of the Baylor
        College of Graduate Medical Education Committee 2001
        Residency Internal Review Subcommittee of the Baylor College of Medicine’s
        Graduate Medical Education Committee 2001
        Eastern Association for the Surgery of Trauma Practice Guideline Committee on
        Endpoints of Resuscitation 2001 – 2003
        Trauma Committee – Oregon Health & Science University 2002 – Present
        Trauma Peer Review Subcommittee - Oregon Health & Science University 2002
        – Present
        Department of Surgery Peer Review Committee – Oregon Health & Science
        University 2002 - Present
        Eastern Association for the Surgery of Trauma Practice Guideline Committee on
        Hypothermia 2002 – 2004
        Oregon Committee on Trauma 2002 – Present
        Restraint and Seclusion Committee – Oregon Health & Science University 2002
        – 2004
        ICU Executive Management Committee – Oregon Health & Science University
        2002 – 2014
        Radiology Task Force Committee – Oregon Health & Science University 2003
        Faculty Senate – Oregon Health & Science University 2003 - 2006
        Data Safety Monitoring Board - Dr. Eileen Bulger, The Effect of Hypertonic
        Resuscitation for Blunt Trauma. IND Number: 10292 2003 - 2005
        Area Trauma Advisory Board One in Oregon 2003 - 2005
        Oregon State Trauma Advisory Board 2004 – Present
        Research Committee – Oregon Health & Science University 2004 – Present
        Sedation Oversight Committee - Oregon Health & Science University 2005 –
        2007
        Eastern Association for the Surgery of Trauma Publications Committee 2005 –
        2007
        Publications Committee - Western Trauma Association 2005 - 2007
        Steering Committee for the U.S. Army Institute of Surgical Research Clinical
        Trials Program, U.S. Army Medical Research and Materiel Command, Fort
        Detrick, Maryland 2005 - Present
        Eastern Association for the Surgery of Trauma Taskforce on Research Related
        Issues 2006 –2010
        State Chair for the Oregon Committee on Trauma 2006 – 2012




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        American College of Surgeons Committee on Trauma 2006 – 2018
        Transfusion Committee – Oregon Health & Science University 2006 – 2008
        American College of Surgeons Subcommittee on ATLS 2006 – Present
        Clinical Resource Management Committee – Oregon Health & Science
        University 2010 - Present
        American College of Surgeons Ad Hoc Committee on Trauma System Evaluation
        and Planning 2006 – Present
        8CSI Best Practice Committee – Oregon Health & Science University 2006 –
        2009
        Oregon State Trauma Advisory Board Legislative Subcommittee 2006 - Present
        Trauma Audit Group, Area Trauma Advisory Board 1 2006 – Present
        Dean’s Pathology Advisory Group – Oregon Health & Science University 2007
        Eastern Association for the Surgery of Trauma Military Committee 2007 –
        Present
        Chairman of the Eastern Association for the Surgery of Trauma Task Force on
        Research Related Issues 2008 – 2011
        American Association for the Surgery of Trauma Acute Care Surgery Committee
        2009 – Present
        Western Trauma Association Program Committee 2009 – 2010
        OHSU Department of Surgery Promotion and Tenure Committee 2009 – Present
        Department of Surgery Quality Executive Committee 2008 – Present
        Eastern Association of Trauma Practice Management Guidelines Committee
        2010 – 2011
        Promotion and Tenure Committee, Department of Surgery – Oregon Health &
        Science University 2010 – Present
        Clinical Resource Management Committee – Oregon Health & Science
        University 2010 - Present
        Eastern Association for the Surgery of Trauma – Nominations Committee 2011
        Chairman of the ICU Management Committee – Oregon Health & Science
        University 2011 – 2013
        American Association for the Surgery of Trauma Ad Hoc Educational
        Development/MOC Committee 2011 – 2013
        Chief, Region X Committee on Trauma 2012 – Present
        Western Trauma Association Board of Directors 2013 - 2016
        Trauma Center Association of America Board of Directors 2013 – Present
        Oregon District #1 Committee on Applicants of the American College of
        Surgeons 2014 – Present
        Board of Governors of the American College of Surgeons 2014 – 2020
        Shock Society – Publications Committee, 2015 – Present
        Patient Blood Management Standards Committee, American Association of
        Blood Banks, 2016 – 2019
        Committee on Surgical Combat Casualty Care, 2016 – Present
        Vice-Chair Grassroots Advocacy Engagement Workgroup, American College of
        Surgeons, Board of Governors, 2016 – 2017
        Chair Grassroots Advocacy Engagement Workgroup, American College of
        Surgeons, Board of Governors, 2017 – 2019




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        Chairman Military-Civilian Subcommittee, Trauma Center Association of
        America, 2017 – 2019
        Chairman Advocacy Committee, Board of Governors, American College of
        Surgeons, 2019 - 2020
        Member Blood Product Advisory Council, FDA, 2018 – Present
        Member Tactical Combat Casualty Care Subject Matter Expert Panel, 2018 –
        Present
        Chairman, Research Committee, Committee on Surgical Combat Casualty Care
        2019 - Present
        Chairman Trauma Center Association of America, 2020 – Present
        Chairman Donald D. Trunkey Center for Civilian and Combat Casualty Care
        Executive Committee, 2020 – Present
        Committee on Accelerating Progress in TBI Research and Care, National
        Academy of Science, Engineering and Medicine, 2020 - 2021


  POSITIONS HELD

        Chief, Dept of Surgery, Joint Task Force – Bravo Honduras, C.A. 1997
        Chief of Surgery 31st Combat Support Hospital 1998 - 1999
        General Surgery Staff- William Beaumont Army Medical Center, Medical
        Director of the Surgical Intensive Care Unit and Chief of Trauma William
        Beaumont Army Medical Center 1995-1999
        General Surgery Staff – Ben Taub General Hospital 1999 - 2001
        Trauma Medical Director, Ben Taub General Hospital 1999 – 2001
        General Surgery Staff – Oregon Health & Science University 2002 - 2003
        Director of Surgical Critical Care, Oregon Health & Science University 2002 –
        2007
        Program Director of the Surgical Critical Care Fellowship, Oregon Health &
        Science University 2003 - 2010
        Surgeon - International Medical Surgical Team West 2004 - Present
        Chief of Trauma, 228th Combat Support Hospital – Tikrit, Iraq 2005
        Chief of Trauma and Surgical Critical Care, Oregon Health & Science University
        2007 – 2009
        Chief and Founder Division of Trauma, Critical Care and Acute Care Surgery,
        Oregon Health & Science University 2009 – Present
        Director of Adult ICUs, Oregon Health & Science University 2010 – 2014
        Director of the Joint Theater Trauma System, United States Central Command in
        Iraq and Afghanistan stationed in Bagram, Afghansitan 2010
        Surgeon, 932nd Forward Surgical Team, Shank, Afghanistan 2014
        Director Donald D. Trunkey Center for Civilian and Combat Casualty Care 2020
        - Present

  HONORS AND AWARDS

        High School - National Honor Society




                                                             VIRAMONTES 003969
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        Undergraduate - Dean’s List 1980 - 1984
        Graduated from University of Chicago With Honors 1984
        Effects of IL - 2 and IFN on Hepatic Metastases - American Cancer Society
        Student Fellowship 1988
        Lubrizol Award for Excellence in Patient Care - Case Western 1988
        Henry N. Harkins Award for Excellence in Preparation of the Annual Residents’
        Paper - Washington State Chapter of the ACS 1989
        Bulldog Award - Children’s Hospital 1992
        Joint Service Commendation Award - Honduras 1997
        Army Achievement Medal - For being WBAMC's Project Officer for the Ben
        Taub Combat Trauma Surgical Training Program 1999
        Army Achievement Medal - Quality Improvement Award 1999
        Army Achievement Medal - For Patient Care 1999
        Meritorious Service Medal – For Establishing a Verified and Designated Level 2
        Trauma Center at William Beaumont Army Medical Center 1999
        National Leadership Award – Honorary Co-Chairman of The Physician’s
        Advisory Board 2001
        Army Commendation Medal – For Service as Chief of Trauma of the 228th CSH
        Tikrit, Iraq 2005
        Iraqi Campaign Medal – For Service in Operation Iraqi Freedom 2005
        Army Reserve Medal with M device – For 10 years of service in the Army
        Reserves with Mobilization to Iraq 2005
        American Association for the Surgery of Trauma Honorary Medal for Combat
        Surgical Care 2005
        Meritorious Unit Commendation Award – For Meritorious Service of the 228th
        Combat Support Hospital During Operation Iraqi Freedom III 2006
        Oregon Health & Science University Faculty Senate Certificate of Appreciation,
        In recognition of vision, leadership and support of the faculty 2006
        Veterans of Oregon Honorable Service Medal 2006
        Distinguished Faculty Award – Oregon Health & Science University Dept of
        Surgery 2007
        World Journal of Surgery Best Paper of 2007 – Coagulopathy: Its
        Pathophysiology and Treatment in the Injured Patient
        Portland Monthly Magazine Top Doctors 2010, 2012, 2013
        Non-Article 5 NATO Medal for Service with NATO in Relation to International
        Security Afghanistan Forces August 2010
        Afghanistan Campaign Medal in Recognition of Service in the Country of
        Afghanistan in Direct Support of Operation Enduring Freedom August 2010
        Global War on Terrorism Service Medal-For support of the Global War on
        Terrorism August 2010
        Joint Service Commendation Medal-For Meritorious Service Rendered During
        Operation Enduring Freedom August 2010
        Certificate of Achievement-Task Force 62 Medical-For Outstanding Performance
        while Serving as Director, Joint Theater Trauma System, United States Central
        Command in Iraq and Afghanistan August 2010




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                                                                CCSAO 09/15/2022
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        The “A” Proficiency Designator in recognition of outstanding qualification in the
        field of General Surgery and continued demonstration of exceptional professional
        ability June 2011
        Marquam Hill Faculty Teaching Award – Oregon Health & Science University,
        Department of Surgery 2011
        Professional Staff Chair’s Award for Outstanding Contributions to Development of
        Interdisciplinary Teams – Oregon Health & Science University 2011
        Inducted into The Order of Military Medical Merit for Distinguished Military
        Service September 2012
        Army Achievement Medal for meritorious service while serving as a Burn
        Surgeon at the US Army Institute of Surgical Research 2013
        Army Commendation Medal for exceptionally meritorious service as a General
        Surgeon while deployed in support of Operation Enduring Freedom June 2014
        Afghanistan Campaign Medal in Recognition of Service in the Country of
        Afghanistan in Direct Support of Operation Enduring Freedom June 2014
        Technology Transfer & Business Development Award for Oregon Procedure
        Quality Reporting System (OPQRS) and Healthcare Team Learning Management
        Platform October 2015
        Asmund S. Laerdal Memorial Lecture Award for Extensive Involvement in
        Resuscitation Research and Publishing. Society of Critical Care Medicine
        February 2016
        Journal of Trauma – Outstanding Reviewer Award, 2016
        Marquam Hill Distinguished Service Award – Oregon Health & Science
        University Dept of Surgery 2017
        2018 Lifetime Achievement Award in Trauma Resuscitation Science – American
        Heart Association
        Meritorious Service Medal for Creating the Army Military Civilian Trauma
        Training Team at OHSU 2019
        OHSU Continuing Professional Development Clinical Star Award 2018 – 2019,
        Awarded 2020

  EDITORIAL BOARD MEMBERSHIPS

        Journal of Trauma and Acute Care Surgery
        Shock
        Current Trauma Reports – 2017 – 2019
        PLOS Medicine

  AD HOC REVIEWER FOR JOURNALS

        Critical Care Medicine
        Pediatric Blood and Cancer
        World Journal of Surgery
        Anesthesiology
        Journal of the American College of Surgeons
        Journal of Thrombosis and Hemostasis
        New England Journal of Medicine



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         Resuscitation
         Critical Care
         Annals of Surgery
         American Journal of Surgery
         Transfusion
         Injury
         Plos One

  INSTRUCTOR COURSES

         Advanced Trauma Life Support – National Faculty
         Definitive Surgical Trauma Care Course
         Stop the Bleed
         Fundamental Critical Care Support

  REVIEWER FOR GRANTS

         American Institute of Biological Sciences
         NIH Surgery, Anesthesia, Trauma Review Section, Special Member

  MEMBER DATA SAFETY MONITORING BOARD

         The Effect of Hypertonic Resuscitation for Blunt Trauma, Primary Investigator -
         Dr. Eileen Bulger, IND Number: 10292.

         Chair DSMB, Control of Major Bleeding after Trauma (COMBAT) Study: A
         Prospective Randomized Comparison of Fresh Frozen Plasma Versus Standard
         Crystalloid Intravenous Fluid for Initial Resuscitation. Primary Investigator – Dr.
         Eugene Moore.

  ONGOING RESEARCH SUPPORT

  US Army Medical Research Acquisition Activity W81XWH-14-2-0003 Gregory (PI)
  Armed Forces Institute for Regenerative Medicine (AFIRM) II Program
  The goal of this study is determine the efficacy of infused bone marrow derived stem
  cells on regeneration of muscle tissue in patients with compartment syndrome.
  Role on Project: Co-investigator (2014 – 2020)

  BA150560 US Army Medical Research Acquisition Activity
  Mesenchymal Stem Cells for the Prevention of Acute Respiratory Distress
  Syndrome after Pulmonary Contusion and Hemorrhagic Shock.
  The goal of this research is to determine if mesenchymal stem cells infused
  intravenously can prevent ARDS in a model of hemorrhagic shock and unilateral
  pulmonary contusion.
  Role on Project: Principal Investigator (2016 – 2020)




                                                                  VIRAMONTES 003972
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  DM160342 US Army Medical Research Acquisition Activity
  Prothrombin Complex Concentrate for Prolonged Field Care of War Casualties
  The purpose of this research is to determine of prothrombin complex concentrate can
  prevent ARDS in a swine model of hemorrhagic shock and pulmonary contusion.
  Role on Project: Principal Investigator (2017 – 2020)

  W81XWH-16-R-0033 Department of Defense, Joint Program Committee-6 Combat
  Casualty Care.
  Linking Investigations in Trauma and Emergency Services (LITES)
  The purpose of this research is to create a network of trauma centers to execute trauma
  research of interest to the Department of Defense.
  Role on Project: Co-Principal Investigator (2016 – 2021)

  RFA-NS-16-016 NIH
  Network for Emergency Care Clinical trials: Strategies to Innovate Emergency
  Care Clinical Trials Network (SIREN) – Network Clinical Center (HUB) (U24)
  This is a network of major medical centers designed to execute NIH funded trials in the
  areas of emergency medicine and trauma.
  Role on Project: Trauma Principal Investigator (2017 – 2022)

  W81XWH-17-1631 US Army Medical Research and Materiel Command
  Mesenchymal Stem Cells for Treatment of ARDS Following Trauma
  This is a multicenter randomized trials comparing mesenchymal stem cells to placebo for
  the treatment of ARDS in critical care patients.
  Role on Project: Site Principal Investigator (2017 – 2020)

  CSL Behring
  Prothrombin Complex for the Treatment of Prehospital Traumatic Hemorrhagic
  Shock
  This is an investigator initiated multicenter trial comparing prothrombin complex
  concentrate to placebo for the prehospital care of patients with traumatic hemorrhagic
  shock. Role on Project: Principal Investigator (2017 – 2021)

  COMPLETED RESEARCH SUPPORT

  US Army Medical Research and Materiel Command DAMD17-01-1-0693
  1999-2001
  The Effect of Recombinant Factor VIIa and Fibrinogen on Bleeding from Grade V
  Liver Injuries in Coagulopathic Swine
  This study is designed to evaluate the efficacy of Factor VIIa in swine models of
  hemorrhagic shock.
  Role on Project: Principal Investigator (1999 – 2001)

  5 M01 RR00334 (GCRC-772)
  Coagulation Parameters after Splenectomy in Trauma Patients



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  This study is designed to determine the effects of splenectomy on coagulation parameters
  both early after injury and at 6 weeks.
  Role on Project: Principal Investigator (2005 – 2008)
  Office of Naval Research
  The Characterization of a Novel Fibrinogen Hemostatic Agent in Animal Models
  This study is designed to test the efficacy of a novel fibrinogen agent in stopping
  bleeding from a rat liver injury.
  Role on Project: Co-Investigator (2006 – 2008)
  Entek Manufacturing, Inc.
  The Efficacy of a Novel Hemostatic Bandage for Control of Hemorrhage from a
  Severe Grade V Liver Injury in Swine.
  The purpose of this study is to test the efficacy of a new highly porous, silica based
  dressing in stopping bleeding from a Grade V Liver Injury in Swine
  Role on Project: Primary Investigator (2006 – 2008)
  SAM Medical                                                                                    2
  A Comparison of Hemostatic Dressings in a Severe Groin Injury Model in Swine
  The purpose of the proposed study is to perform a randomized controlled trial comparing
  Combat Gauze to Celox-Gauze to Celox-D to standard gauze for hemorrhage control of a
  severe groin injury created in Yorkshire crossbred swine
  Role on Project: Principal Investigator (2009)
  U. S. Army Medical Research and Materiel Command W81XWH-04-1-0104
  The Effect of Hypotensive Resuscitation and Fluid Type on Mortality, Bleeding,
  Coagulation and Dysfunctional Inflammation in a Swine Grade V Liver Injury
  Model
  The purpose of this study is to determine the optimal resuscitation strategy in terms of
  resuscitation endpoints and fluids in an uncontrolled hemorrhage model in swine.
  Role on Project: Principal Investigator (2003 – 2011)
  5 M01 RR00334 (GCRC-946)
  Can TEG be used in place of anti-factor Xa levels to assess enoxaparin levels in
  patients with co-morbidities?
  This project is designed to determine if thrombelastograms can be used to determine the
  effect of lovenox in a diverse patient population to include patients with renal failure and
  obesity
  Role on Project: Principal Investigator (2005 – 2011)
  U.S. Army Medical Research Acquisition Act W81XWH-08-C-0712 (subcontract)
  Prospective Observational Multicenter Massive Transfusion Study (PROMMTT)
  The purpose of this study is to observe and document clinical practice for major trauma
  patients admitted to the ED who are at risk of massive transfusion.
  Role of project: Site Principal Investigator, Chairman of the Publication Committee
  (2009 – 2012)
  US Air Force Material Command/AFMC FA8650-09-2-6047
  Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients




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  The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
  and mortality with use of cryopreserved blood compared to standard blood.
  Role of project: Principal Investigator (2009 – 2012)
  Medical Research Foundation of Oregon
  Thrombelastography-Based Dosing of Enoxaparin for Thromboprophylaxis: A
  Prospective Randomized Trial
  This project is designed to determine if thrombelastograms can be used to determine the
  effect of lovenox in a diverse patient population to include patients with renal failure and
  obesity.
  Role on project: Co-Investigator (2005 – 2012)

  US Air Force Material Command/AFMC FA8650-10-2-6143
  Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients – A Multi-
  Center Trial
  The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
  and mortality with use of cryopreserved blood compared to standard blood at 6 clinical
  sites.
  Role of project: Principal Investigator (2010 – 2014)
  CORA/MED
  Trauma Equivalency Study of the CORA® and TEG® 5000 Systems
  The purpose of this study is to compare the novel CORA (Coagulation Resonance
  Analyzer) system with the standard commercially available TEG 5000 system in trauma
  patients with a broad variety of coagulopathies.
  Role on Project: Primary Investigator (2015)

  Thrombelastography (TEG) Based Dosing of Enoxaparin for Thromboprophylaxis:
  A Prospective Randomzed Trial This is a multicenter prospective randomized trial
  designed to determine if TEG based dosing of enoxaparin is superior to standard dosing
  with respect to a reduction of thromboembolic complications without an increase in
  bleeding complications. Role on Project: Principal Investigator (2011-2015)

  U01 HL077863-06S2 National Institute of Health Lung and Blood Institute (NIHLBI)
  Holcomb (PI)
  Prospective, Randomized Optimal Platelet and Plasma Ratios (PROPPR)
  This is a multi-center project being performed in a prospective randomized format
  comparing the efficacy and safety of plasma, platelets and packed red blood cells given
  in a 1:1:1 ratio versus a 1:1:2 ratio.
  Role on Project: Primary Investigator, OHSU (2011 – 2016)

  1549586 National Science Foundation (NSF)
  Tissue Factor-Impregnated Dressing for Hemorrhage Control
  The goal of this research is to determine if the utilization of tissue factor as a
  procoagulant on gauze is superior to dressings currently in use for hemorrhage control.
  Role on Project: Principal Investigator (2016)




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  HL-04-001, National Heart, Lung and Blood Institute (NHLBI) Daya (PI)
  Portland Emergency Prehospital Investigative Consortium (EPIC)
  This is a multicenter trial designed to conduct a series of studies related to the initial
  management of trauma and cardiac arrest patients.
  Role on Project: Trauma Primary Investigator (2004 – 2018)

  U10 National Institutes of Neurological Disorders and Stroke (NINDS) Barsan (PI)
  Brain Research/Acute Interventions: Neurological Emergencies Treatment Trial
  This is a multicenter project designed to perform pivotal trials evaluating therapeutics
  with the potential to improve outcomes after neurological emergencies.
  Role on project: Co-Investigator (2009 – 2018)

  US Army Medical Research Acquisition Activity ERMS #1333504
  Prehsopital Tranexamic acid Use for Traumatic Brain Injury
  This is a multi-center project designed to determine the efficacy of tranexamic acid in
  improving outcomes after traumatic brain injury.
  Role on Project: Clinical Principle Investigator (2013 – 2018)

  HHSN263210300003C National Institutes of Health (NIH)
  Predictors of Post-Traumatic Stress Disorder
  This is a multi-center study that is designed to identify patients who are at risk for
  developing PTSD. This study includes an epigenetic component seeking to find
  biochemical markers predictive of the development of PTSD.
  Role on Project: Primary Investigator (2013 – 2018)

  U01 HL077863 National Heart Lung and Blood Institute (NHLBI) May (PI)
  Prehospital Resuscitation on Helicopter Study
  This is a prospective, observational, multi-center trial designed to determine the benefits
  of delivering blood products in the pre-hospital setting during air transport. Air
  ambulances that carry blood products will be compared to those that do ot.
  Role on Project: Primary Investigator, OHSU (2014 – 2018)

  Grifols Investigator Sponsored research
  Is Anti-Thrombin III Deficiency Associated with Deep Vein Thrombosis in Surgical
  and Trauma Patients?
  This is a prospective observational study designed to determine if anti-thrombin III is
  associated with deep vein thrombosis in trauma patients.
  Role on Project: Primary Investigator (2015 – 2018)

  Trauma/Critical Care Fellows Trained

          1. Samual Rob Todd, MD 2002 - 2003
          2. Danetta Sue Slone, MD 2002 - 2003
          3. Jennifer Watters, MD 2004 - 2005



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        4. Miko Enomoto, MD 2004 – 2005
        5. Bruce Ham, MD 2005 – 2006
        6. Nicole Vanderhayden, MD PhD 2005 – 2006
        7. Susan Rowell, MD 2006 – 2007
        8. Laszlo Kiraly, MD 2006 – 2007
        9. Arvin Gee, MD 2007 – 2008
        10. David Shapiro, MD 2007 – 2008
        11. Richard Nahouraii, MD 2008-2009
        12. Stephanie Gordy, MD 2008-2009
        13. Carrie Allison, MD 2008-2009
        14. Michael Englehart, MD 2009-2010
        15. Dan Anderson, MD 2009-2010
        16. Mary Claire Sarff, MD 2009-2010

  Laboratory Residents Mentored

        1. Jennifer Watters, MD 2003 - 2004
        2. Rebecca Sawai, MD 2004 - 2005
        3. Tracy Wiesberg, MD 2004 – 2005
        4. Laszlo Kiraly, MD 2005 – 2006
        5. Brandon Tieu, MD 2005 – 2007
        6. Michael Englehart, MD 2005 – 2007
        7. Arvin Gee, MD 2006 – 2007
        8. Melanie Morris, MD 2006 – 2007
        9. David Cho, MD 2006 – 2008
        10. Carrie Hink, MD 2007 – 2008
        11. Karen Zink, MD 2007 – 2008
        12. Chitra Sambasivan, MD 2008 – 2009
        13. Nicholas Spoerke, MD 2008 – 2009
        14. Philbert Van, MD 2008 – 2010
        15. Modjgan Keyghobadi, MD 2009 – 2010
        16. Gordon Riha, MD 2010 – 2011
        17. Nicholas Kunio, MD 2010 – 2011
        18. Tim Lee, MD 2011 – 2013
        19. Jeffrey Barton, MD 2011 – 2012
        20. Loic Fabricant, MD 2011 – 2012
        21. David Hampton, MD 2012 – 2013
        22. Sean McCully, MD 2012 – 2014
        23. Scott Louis, MD 2012 – 2013
        24. Alexis Moren, MD 2013 – 2014
        25. Kelly Fair, MD 2013 – 2014
        26. David Martin, MD 2013 – 2015
        27. Mackenzie Cook, MD 2013 – 2014
        28. Vicente Undurraga, MD 2013 – 2015
        29. Christopher Connelly, MD 2014 – 2015
        30. Davis Yonge, MD 2014 – 2015




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        31. Justin Watson, MD 2014 - 2015
        32. Aravind Bommiasamy, MD 2015 – 2016
        33. Brandon Behrens, MD 2016 – 2017
        34. Sawyer Smith, MD 2016 – 2018
        35. Alix Dixon, MD 2018 – 2019

  Laboratory Fellows and Post-Docs Mentored

        1.   Modjgan Keyghobadi, MD 2004 – 2006
        2.   Ayhan Karahan, MD 2006 – 2007
        3.   Gopal Singh, MD 2007 – 2008
        4.   Igor Kremenevskiy, MD, PhD 2008-2012
        5.   Dinh-Tuan Le, MD 2012
        6.   Belinda McCully, PhD 2012 – 2018
        7.   Amonpon Kanlerd, MD 2018 – 2019

  PUBLICATIONS

     1. Samuels, R. Schreiber MA, Patel, N, Hemobilia After a Gunshot Injury to the
        Liver. American Journal of Radiology 1996; 166:1304.

     2. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Limiting
        Computed Tomography to Patients With Peritoneal Lavage Positive Results
        Reduces Cost and Unneccessary Celiotomies in Blunt Trauma. Arch Surg 1996;
        131:954-959.

     3. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Blunt Trauma:
        Limiting CT to Patients with Peritoneal Lavage, Reducing Costs and Unnecessary
        Celiotomies. Chirurgia International 1997;4:14-16.

     4. Schreiber MA, Pusateri AE, Veit BC, Smiley RA, Morrison CA, Harris A,
        Timing of Vaccination Does not Affect Antibody Response or Survival Following
        Pneumococcal Challenge in Splenectomized Rats. The Journal of Trauma 1998;
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     5. Morrison CA, Schreiber MA, Olsen SB, Hetz SP, Acosta MM, Femoral
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        Insufflation. Surgical Endoscopy 1998; 12: 1213-1216.

     6. Nessen S, Holcomb JB, Tonkinson B, Hetz SP, Schreiber MA, Early
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        JS. Air Medical Transport by a US Army Air Ambulance Unit Under the Military




                                                             VIRAMONTES 003978
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        sectional Study and Program Review. Prehospital Emergency Care 2000;4:136-
        143.

     8. Taylor SF, Kopchinski B, Schreiber MA, Singleton L,. Trauma Patient Outcome
        in an Army Deployable Medical Systems Environment Compared with a Medical
        Center. Military Medicine; 2000; 165:867-869.

     9. Gourley EJ, Schreiber MA, Gerhardt RT, Stewart TR. Military Assistance to
        Safety and Traffic (MAST) Services in El Paso: A Retrospective Analysis.
        Military Medicine; 2000; 165:870-874.

     10. Granchi TS, Schmittling ZC, Vasquez J, Schreiber MA, Wall MJ. Prolonged
         Use of Intraluminal Arterial Shunts Without Systemic Anticoagulation. The
         American Journal of Surgery; 2000; 180:493-497.

     11. Aoiki N, Wall MJ, Demsar J, Zupan B, Granchi T, Schreiber MA, Holcomb JB,
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         Survival at the Conclusion of a Damage Control Laparotomy. The American
         Journal of Surgery; 2000; 180:540-545.

     12. Schreiber MA, Coburn M, Penetrating Pellet Injury of the Kidney Presenting
         with Complete Urinary Obstruction. The Journal of Trauma. 2001;50:1144-
         1146.

     13. Gerhardt RT, Stewart T, De Lorenzo RA, McGhee JS, Gourley EJ, Schreiber
         MA. US Army Air Ambulance Operations in El Paso, Texas: A Descriptive
         Study and System Review. Military Medicine; 2001; 166:102-107.

     14. Schreiber MA, Holcomb JB, Hedner U, Brundage SI, Macaitis JM, Hoots K.
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         Liver Injuries. Journal of Trauma. 2002;53:252-259.

     15. Brill SA, Stewart TR, Brundage SI, Schreiber MA. Base Deficit Does not
         Predict Mortality When it is Secondary to Hyperchloremic Acidosis. Shock.
         2002;17:459-62.

     16. Schreiber MA, Holcomb JB, Conaway CW, Campbell KD, Wall M, Mattox KL.
         Military Trauma Training Performed in a Civilian Trauma Center. Journal of
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     17. Schreiber MA, Aoki N, Scott BG, Beck JR. Determinants of Mortality in
         Patients with Severe Blunt Head Injury. Archives of Surgery. 2002; 137:285-
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         Radiograph is not Indicated After Open Tracheostomy: A Multi-center
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     19. Schreiber MA, Holcomb JB, Hedner U, Brundage SI, Macaitis JM, Aoki N,
         Meng ZH, Tweardy DJ, Hoots K. The Effect of Recombinant Factor VIIa on
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         Factor Cascade Increases with Severity of Uncontrolled Hemorrhage in Swine.
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     23. Brundage SI, Zautke NA, Watters JM, Stefater JA, Todd SR, Lam JC, Schreiber
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         Journal of Trauma. 2005;31:503-507.

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         Englehart MS, Underwood S, Wiesberg TT, Schreiber MA. Resuscitation with
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        Hoff WS, McQuay N Jr, Tieu BH, Schreiber MA, Nirula R, Brasel K, Dunn JA,
        Gambrell D, Huckfeldt R, Harper J, Schaffer KB, Tominaga GT, Vinces FY,
        Sperling D, Hoyt D, Coimbra R, Rosengart MR, Forsyth R, Cothren C, Moore
        EE, Haut ER, Hayanga AJ, Hird L, White C, Grossman J, Nagy K, Livaudais W,
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     44. Teh SH, Sheppard BC, Mullins RJ, Schreiber MA, Mayberry JC. Diagnosis and
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         Recombinant Factor VIIa in Combat Trauma Patients Requiring Massive
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         Predictors of Massive Transfusion in Combat Casualties. Journal of the American
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         F, Brink PR, Brohi K, Burris D, Burton RA, Chapleau W, Cioffi W, Collet e Silva
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         Hansen KS Henny W, Hollands MJ, Hunt RC, Jover Navalon JM, Kaufmann CR,
         Knudson P, Koestner A, Kosir R, Larsen CF, Livaudais W, Luchette F, MaoP,
         McVicker JH, Meredith JW, Mock C, Mori ND, Morrow C, Park SN, Pereira PM,
         Pogetti RS, Ravn J, Rhee P, Salamone JP, Schipper IB, Schoettker P, Schreiber
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  INVITED COMMENTARY




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        Conflict and Other Situations of Violence, by Christos Giannouand and Marco
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     2. Schreiber MA. Commentary on “Mulitcenter, Randomized, Controlled Clinical
        Trial of Transfusion Requirements in Critical Care. In: Cohn SM, Feinstein AJ.
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     3. Schreiber MA. DVT Prophylaxis in TBI, Spine and Solid Organ Injuries.
        AudioDigest General Surgery 68:15 (August 7) 2021.

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        Surgery 68:20 (October 21) 2021.

     5. Schreiber M. To Transfer or to Operate: Decisions in Rural Trauma Care.
        Audio Digest General Surgery 68:21 (November 7) 2021.

  POSTER PRESENTATIONS

     1. Watters JM, Muller PJ, Differding JA, Schreiber MA, A Single Bolus of 3.5%
        Hypertonic Saline with Dextran Provides Optimal Resuscitation after
        Uncontrolled Hemorrhagic Shock - Presented at 2004 Advanced Technology
        Applications for Combat Casualty Care 2004

     2. Malinoski DJ, Slater MS, Schreiber MA, Mullins RS. A CPK of 20,000 is a
        Sensitive Predictor of Myoglobinuric Renal Failure after Traumatic
        Rhabdomyolysis - Presented at the 62nd meeting of The American Association
        for the Surgery of Trauma. 2003

     3. Brundage SI, Schreiber MA, Holcomb JB, Zautke NA, Mastrangelo MA, Xu
        XQ, Macaitis JM, Tweardy DJ. Recombinant Activated VII for Adjunctive
        Hemorrhage Control Reduces Nuclear Factor Kappa Beta Activation in a
        Hypothermic Coagulopathic Swine Model of Uncontrolled Hemorrhagic Shock –
        Presented at the Twenty-Fifth Annual Conference on Shock. 2003




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     4. Todd SR, Malinoski D, Schreiber MA. Lactated Ringer’s is Superior to Normal
        Saline in Uncontrolled Hemorrhagic Shock - Presented at the Twenty-Fifth
        Annual Conference on Shock. 2003

     5. Brundage SI, Schreiber MA, Mastrangelo MA, Holcomb JB, Macaitis JM,
        Moreno CE, Tweardy DJ, Increased Magnitude of Shock in a Swine Model of
        Uncontrolled Hmorrhage Results in Increased Liver Damage and Local IL-6 and
        G-CSF Production – Presented at the Twenty-Fifth Annual Conference on Shock
        2002

     6. Scott BG, Holcomb JB, Hess JR, Schreiber MA, Hudson KL, Wall MJ, Age of
        Packed Red Blood Cells did not Affect Mortality of Trauma Patients – Presented
        at The Southwest Surgical Congress May, 2001

     7. Dorlac WC, Holcomb JB, Fagan SP, Kwong KL, Schreiber MA, Moore FA,
        Mattox KL, Exsanguination from Isolated Civilian Extremity Injuries – Presented
        at The Southwest Surgical Congress May, 2001

     8. Aoki N, Scott BG, Holcomb JB, Zupan B, Demsar J, Schreiber MA, Brundage
        SI, Persse D, Beck JR, Wall MJ, Mattox KL, Prehospital Prognostic Factors for
        Patients with Penetrating Injury. Presented at The Southwest Surgical Congress
        May, 2001

     9. Schreiber MA, Holcomb JB, Brundage SI, Maciatis JM, Tweardy D, Hedner U,
        Hoots K. The Effect of rFVIIa on Coagulopathic Pigs with Grade V Liver
        Injuries. Presented at the 6th Novo Nordisk Symposium on the Treatment of
        Bleeding and Thrombotic Disorders Copenhagen, Denmark May, 2001

     10. Schreiber MA, Charles NC, Kopchinski B, Stewart T, Aoki N. The Effect of
         Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver Injury Model.

     11. Presented at the 2001 International Society of Thrombosis and Haemostasis
         Paris, France July, 2001

     12. Schreiber MA, Brill S, Stewart TR, Base Deficit is a Poor Predictor of Lactic
         Acidosis and Mortality in Critically Ill Patients – Presented at the Michael E.
         DeBakey International Surgical Society 2000

     13. Tyroch A, Kaups K, Lorenzo M, Solis D, Schreiber M, Routine Chest
         Radiographs are Not Indicated After Open Tracheostomy: A Multi-Center
         Perspective – Presented at the American Association for the Surgery of Trauma
         2000

     14. Schreiber MA, Charles NC, Kopchinski B, Stewart T, The Effect of Urokinase
         on Bleeding and the Coagulation Cascade in a Pig Liver Injury Model - Presented
         at the American Association for the Surgery of Trauma 1999




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     15. Hardaway RM, Kwong KL, Schreiber MA, William C, A New Treatment for
         Acute Respiratory Failure - Presented at The American College of Surgeons Fall
         Meeting 1998

     16. Schreiber MA, Pusateri AE, Veit BC, Smiley RA, Morrison CA, Harris RA,
         Timing of Vaccination Does not Affect Antibody Response or Survival Following
         Pneumococcal Challenge in Splenectomized Rats – Presented at the American
         Association for the Surgery of Trauma 1997

  CLINICAL PRESENTATIONS

     1. Hemorrhagic Complications of Central Venous Catheterization - Presented at the
        10th Annual Gary P. Written Surgical Symposium Tacoma, WA 1988

     2. Penetrating Neck Trauma on Mount Rainier-Seattle Surgical Society 1995

     3. Complimentary Use of Peritoneal Lavage and CT in the Management of Blunt
        Abdominal Trauma - Presented at the Pacific Coast Surgical Association
        Scientific Program 1996

     4. Effect of Pre-peritoneal and Intra-peritoneal Insufflation on Femoral Venous Flow
        - Presented at the Washington State Chapter Meeting of the ACS 1996

     5. Abdominal Compartment Syndrome - R. E. Thomason Hospital Trauma Grand
        Rounds, El Paso, Texas 1998

     6. Penetrating Neck Trauma - Providence Memorial Hospital Trauma Grand
        Rounds, El Paso, Texas 1998

     7. Cost Effective Evaluation of the Abdomen in Blunt Trauma - 4th Annual Army
        Symposium on Trauma, San Antonio, TX 1998

     8. Cost Effective Evaluation of the Abdomen in Blunt Trauma - Ben Taub General
        Hospital Grand Rounds 1998

     9. MAST Services in El Paso: A Retrospective Analysis and Comparison to the
        Major Trauma Outcome Study, Current - Winner Army Trauma Competition at
        Gary Wratten Symposium 1998

     10. Hyperchloremic Metabolic Acidosis in the Critically Ill Trauma Patient, Current -
         Presented At Gary Wratten Symposium 1998

     11. The Effect of Tricare on a Surgical Residency Program - Presented at Gary
         Wratten Symposium 1998




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     12. Substernal Goiter: Is Operative Management Mandatory? -Winner 3rd Place in
         Resident Competition at the 1998 Southern Medical Association Meeting The
         Effect of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver
         Injury Model - 2nd Place Army Trauma Competition, Gary Wratten Symposium
         1999

     13. Cost Effective Evaluation of the Abdomen in Blunt Trauma - University of Utah
         Trauma Conference 1999

     14. Damage Control Surgery, Physiologic Considerations - Baylor College of
         Medicine Anesthesia Grand Rounds 1999

     15. Damage Control Surgery, Physiologic Considerations - William Beaumont Army
         Medical Center Multidisciplinary Trauma Conference 1999

     16. Damage Control Surgery, Physiologic Considerations – Baylor College of
         Medicine Surgery Grand Rounds 2000

     17. Trauma at Ben Taub – Hermann Hospital Trauma Development Day 2000

     18. Abdominal Compartment Syndrome – William Beaumont Army Medical Center
         Multidisciplinary Trauma Conference 2000

     19. Abdominal Compartment Syndrome – Ben Taub General Hospital
         Multidisciplinary Trauma Conference 2000

     20. Tackling Trauma Transfers – Trauma Care 2000, Warwick Hotel, Houston, TX
         September 2000

     21. Recombinant Factor VIIa: A Novel Approach to Hemorrhage Control, Advanced
         Technology Applications to Combat Casualty Care, Ft Walton Beach, FL
         September 2000

     22. Damage Control Surgery, Physiologic Considerations – University of California
         San Francisco at Fresno Surgical Grand Rounds, Fresno, CA November 2000

     23. Determinants of Mortality in Patients with Severe Blunt Head Injury – Michael E.
         Debakey International Surgical Society, Houston, TX. November 2000

     24. The Effects of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver
         Injury Model – Michael E. DeBakey International Surgical Society, Houston, TX.
         November 2000

     25. Determinants of Mortality in Patients with Severe Blunt Head Injury – Eastern
         Association for the Surgery of Trauma, Tampa Bay, FL January 2001. Firearms in




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        the US and at Ben Taub – Million Moms March, Greater Houston Area Chapter,
        Houston, TX March 2001

     26. Modulation of the Coagulation Cascade in Trauma Patients – Oregon Health
         Sciences University Surgical Grand Rounds, Portland, OR May 2001

     27. Base Deficit Does not Predict Mortality when it Secondary to Hyperchloremic
         Acidosis – The Shock Society, Marco Island, FL June 2001

     28. The Effect of Recombinant Factor VIIa on Non-Coagulopathic Pigs with Grade V
         Liver Injuries – International Society on Thrombosis and Haemostasis, Paris,
         France July 2001

     29. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
         Liver Injuries – Advanced Technology Applications to Combat Casualty Care, Ft
         Walton Beach, FL September 2001

     30. Diversion: A Necessity for Survival – The Harris County Hospital District
         Annual Trauma Workshop, Houston, TX October 2001

     31. Adult Respiratory Distress Syndrome – Rio Grande Trauma Conference &
         Pediatric Trauma Update III, El Paso, TX November 2001

     32. Military Trauma Training Performed in a Civilian Trauma Center – Association
         for Academic Surgery, Milwaukee, WI November 2001

     33. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
         Liver Injuries - Eastern Association for the Surgery of Trauma, Orlando, FL
         January 2002

     34. Modulation of the Coagulation Cascade in Trauma Patients – 13th Annual
         Northwest states Trauma Conference, Bend, OR April 2002

     35. Adult Respiratory Distress Syndrome – Oregon Health Sciences University
         Surgical Grand Rounds, Portland, OR October 2002

     36. Modulation of the Coagulation Cascade in ICU Patients – 29th Annual Oregon
         Chapter of the Society of Critical Care Medicine Critical Care Symposium,
         Portland, OR November 2002

     37. Management of the Severely Injured – 34th Annual Family Practice Review,
         Portland, OR February 2003

     38. Modulation of the Coagulation Cascade in Trauma Patients - Grand Rounds,
         Brooke Army Medical Center, San Antonio, TX June 2003




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     39. Future Directions: Managing Anemia in the Surgical Patient - 39th Annual
         Meeting Oregon Chapter American College of Surgeons, Sunriver, OR September
         2003

     40. Modulation of the Coagulation Cascade - Grand Rounds, University of California
         San Francisco - East Bay, Oakland, CA October 2003

     41. Abdominal Compartment Syndrome - 30th Annual Critical Care Symposium,
         Portland, OR October 2003

     42. Resuscitation of Uncontrolled Hemorrhagic Shock - Anesthesia Grand Rounds,
         Oregon Health & Science University, Portland, OR January 2004

     43. Management of the Severely Injured - 35th Annual Family Practice Review,
         Portland, OR February 2004

     44. Recombinant Factor VIIa, Uses in Trauma - 33rd Critical Care Congress of the
         Society of Critical Care Medicine, Orlando, FL February 2004

     45. Initial Resuscitation of the Trauma Patient, Hemoglobin Substitutes - 15th Annual
         Trauma Conference Harborview Medical Center, Seattle, WA March 2004

     46. Resuscitation Pearls – 15th Annual Northwest States Trauma Conference,
         Sunriver, OR April 2004

     47. Novel Methods of Hemorrhage Control – 15th Annual Northwest States Trauma,
         Conference, Sunriver, OR April 2004

     48. Modulation of the Coagulation Cascade - Grand Rounds, University of Texas
         Houston, TX May 2004

     49. Hypercoagulability is Most Prevalent Early after Injury and in Females -
         American Association for the Surgery of Trauma Maui, Hawaii October 2004

     50. Resuscitation in 2004: Are We Doing it the Right Way? 2nd Annual Directors'
         Forum Maui, Hawaii October 2004

     51. Catastrophic Bleeding. The American Red Cross Portland, OR October 2004

     52. What's New in Resuscitation?, Novel Methods of Hemorrhage Control and Adult
         Respiratory Distress Syndrome in the Trauma Patient. Portneuf Trauma and
         Emergency Care Conference Pocatello, Idaho October 2004

     53. Lactated Ringer's is Superior to Normal Saline for the Resuscitation of
         Hemorrhagic Shock - Grand Rounds, Oregon Health & Science University
         December 2004




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     54. Modulation of the Coagulation Cascade in Trauma Patients. St. Charles Medical
         Center Trauma Conference. Bend, Oregon January 2005.

     55. Management of the Severely Injured - 36th Annual Family Practice Review,
         Portland, OR February 2005

     56. Modulation of the Coagulation Cascade. Marin General Hospital Trauma
         Conference. Marin, California March 2005

     57. An OHSU Surgeon Goes To War. 23rd Annual Northwest Winter Conference in
         Emergency Medicine. Sunriver, Oregon January 2006

     58. Hemoglobin-Based Oxygen Carrier (HBOC) Use in Neurotrauma Care. Invited
         Discussant. Eastern Association for the Surgery of Trauma. Orlando, Florida
         January 2006

     59. Control of Hemorrhage: It Pays to be Aggressive. 17th Annual Northwest States
         Trauma Conference. Sunriver, Oregon April 2006

     60. The Iraqi Experience. 17th Annual Northwest States Trauma Conference.
         Sunriver, Oregon April 2006

     61. Medical Care in Operation Iraqi Freedom III. Trauma Conference. Santa Rosa,
         CA June 2006

     62. Medical Care in Operation Iraqi Freedom III. Surgical grand Rounds, Providence
         St. Vincent Medical Center. Portland, Oregon August 2006

     63. Potential Benefits of Ketamine as a Battlefield Anesthetic. Advanced Technology
         Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

     64. Predictors of Massive Transfusion in Combat Casualties. Advanced Technology
         Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

     65. Airway Pressure Release Ventilation. Trends in Respiratory & Acute Care.
         Troutdale, Oregon September 2006.

     66. Hemostasis in Military Casualties. Second Thrombin Symposium. Challenges in
         Surgical Hemostasis. Seattle, Washington September 2006.

     67. Postmortem Computed Tomography (CATopsy) Predicts Cause of Death in
         Trauma Patients. Invited Discussant. American Association for the Surgery of
         Trauma. New Orleans, Louisiana September 2006.




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     68. Early vs. Late Recombinant Factor VIIa Usage in Trauma patients Requiring
         Massive Transfusion in Combat Support Hospitals. American Association for the
         Surgery of Trauma. New Orleans, Louisiana September 2006.

     69. Early Coagulopathy after Traumatic Brain Injury: The Role of Hypoperfusion
         and the Protein C Pathway. Invited Discussant. American Association for the
         Surgery of Trauma. New Orleans, Louisiana September 2006.

     70. Induction of Profound Hypothermia Improves Survival in a Swine Model of
         complex Vascular, Splenic, and coonic Injuries, without an Increase in Bleeding
         and Septic Complications. Invited Discussant. American College of Surgeons.
         Chicago, Illinois October 2006.

     71. Comparison of Prolonged Hypotensive and Normotensive Resuscitation
         Strategies in a Porcine Model of Hemorrhagic Shock. Invited Discussant.
         American College of Surgeons. Chicago, Illinois October 2006.

     72. Mesenteric Ischemia. American College of Surgeons. Chicago, Illinois October
         2006.

     73. Fluids and Their Effects on Hemostasis. American College of Surgeons.
         Chicago, Illinois October 2006.

     74. Is Hypothermia after Major Injury Protective or Harmful? American College of
         Surgeons. Chicago, Illinois October 2006.

     75. Medical Care in Operation Iraqi Freedom III. Portland Surgical Society.
         Portland, Oregon October 2006

     76. Modulation of Coagulation. Trauma conference, Albany General Hospital.
         Albany, Oregon November 2006

     77. Care of Patients in Operation Iraqi Freedom III. Thirty-third Annual Critical Care
         Symposium. Portland, Oregon November 2006

     78. A Reserve Surgeon Goes to War. Annual Training Conference, 6th Medical
         Recruiting Battalion. Las Vegas, Nevada December 2006

     79. Medical Care in Operation Iraqi Freedom III. Internal Medicine Grand Rounds,
         Oregon Health & Science University. Portland, Oregon January 2007

     80. Endotoxin tolerance in Sepsis: Concentration Dependent Augmentation or
         Inhibition of LPWS-Stimulated Macrophage TNF Secretion by LPS Pretreatment.
         Invited Discussant. Eastern Association for the Surgery of Trauma. Fort Myers,
         Florida January 2007




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     81. Fibrin Sealants. Extremity War Injuries II. Washington DC, January 2007.

     82. Novel Methods of Hemorrhage Control. 24th Annual Northwest Winter
         Conference in Emergency Medicine. Sunriver, OR, January 2007.

     83. Novel Methods of Hemorrhage Control. Vascular Conference. Oregon Health &
         Science University, Portland, Oregon February 2007.

     84. Resuscitation and Systemic Hemorrhage Control. 45th Critical Care, Trauma and
         Emergency Medicine Symposium, Las Vegas, NV February 2007.

     85. Emergent Hemorrhage Control. 45th Critical Care, Trauma and Emergency
         Medicine Symposium, Las Vegas, NV February 2007.

     86. Lessons Learned from Operation Iraqi Freedom III. 45th Critical Care, Trauma
         and Emergency Medicine Symposium, Las Vegas, NV February 2007.

     87. The Abdominal Compartment Syndrome. 45th Critical Care, Trauma and
         Emergency Medicine Symposium, Las Vegas, NV February 2007.

     88. Lessons Learned from Operation Iraqi Freedom III. Josephine County Medical
         Society Dinner, Grants Pass, Oregon May 2007.

     89. Assessing the Medical Resource Needs of Combat Support Hospitals. Advanced
         Technology Applications for Combat Casualty Care, St. Petersburg, Florida
         August 2007.

     90. Characterization of a novel Fibrinogen Hemostatic Agent in Animal Injury
         Models. Advanced Technology Applications for Combat Casualty Care, St.
         Petersburg, Florida August 2007.

     91. Invited Discussant: Causes of Death and Injury Severity in Operation Iraqi
         Freedom and Operation Enduring Freedom: 2003-2004 vs. 2006. Advanced
         Technology Applications for Combat Casualty Care, St. Petersburg, Florida
         August 2007.

     92. Invited Discussant: Blood Product Effect on Survival for Patients with Combat
         Related Injuries. Advanced Technology Applications for Combat Casualty Care,
         St. Petersburg, Florida August 2007.

     93. Research: Questions and Answers from Academic Trauma Surgeons. American
         Association for the Surgery of Trauma, Las Vegas, NV September 2007.

     94. Optimal Resuscitation Endpoints. American College of Surgeons. New Orleans,
         LA October 2007.




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     95. Invited Discussant: Induced Hypothermia is Associated with Improved Outcomes
         in Porcine Hemorrhagic Shock. American College of Surgeons. New Orleans,
         LA October 2007.

     96. Closure of Paper. Management and Outcome of Pneumatosis Intestinalis. North
         Pacific Surgical Association. Victoria, British Columbia. November 2007.

     97. Permissive Hypotension, Fluid Resuscitation and Coagulopathies in the Trauma
         Patient. Kadlec Hospital Grand Rounds. Richland, Washington. December
         2007.

     98. Lessons Learned in the War on Terror. East Bay Surgical Society. Walnut
         Creek, California. February 2008.

     99. The Effect of Fluid on Coagulation. Highland Hospital Surgical Grand Rounds.
         Oakland, California February 2008.


     100.       The Use of Leukoreduced Blood does not Reduce Infection, Organ
        Failure, or Mortality Following Trauma. Senior Discussant. Pacific Coast
        Surgical Association, 79th Meeting. San Diego, California February 2008.

     101.      Is There a Role for Aggressive use of Fresh Frozen Plasma in Massive
        Transfusion of Civilian Trauma Patients? Invited Discussant. Southwestern
        Surgical Congress. Acapulco, Mexico April 2008.

     102.     Ongoing Medical Advances in the War on Terror. Northwest States
        Trauma Conference. Bend, Oregon April 2008.

     103.     Blood Transfusions: Kindness or Murder. Northwest States Trauma
        Conference. Bend, Oregon April 2008.

     104.     Good Drugs Gone Bad! Antithrombotic Agents and Their Reversal in
        Trauma. Adding Insult to Injury: The Role of Chronic Conditions in Acute
        Trauma Care. Billings, Montana May 2008.

     105.      Fluid Modulates Coagulation after Trauma. Adding Insult to Injury: The
        Role of Chronic Conditions in Acute Trauma Care. Billings, Montana May
        2008.

     106.     Medical Advances Made in the War on Terror. Billings Clinic Grand
        Rounds. Billings, Montana May 2008.

     107.     Fibrin Sealants to Stop Bleeding in Surgery. American College of
        Surgeons 94th Annual Congress. San Francisco, California October 2008.




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     108.      Modern Control of Hemorrhage. Balboa Naval Hospital Grand Rounds.
        San Diego, California January 2009.

     109.      The Use of Lyophilized Plasma for Resuscitation in a Swine Model of
        Resuscitation. 80th Annual Meeting of the Pacific Coast Surgical Association.
        San Francisco, California February 2009.

     110.      A Simplified Set of Trauma Triage Criteria Safely Reduces Over-Triage:
        A Prospective Study. Invited Discussant. 80th Annual Meeting of the Pacific
        Coast Surgical Association. San Francisco, California February 2009.

     111.      Admission Ionized Calcium Levels Prdict the Need for Multiple
        Transfusions: A Prospective Study of 591 Critically-Ill Trauma Patients. Invited
        Discussant. American Association for the Surgery of Trauma. Pittsburgh,
        Pennsylvania October 2009.

     112.      Activated Recombinant Factor VIIa Reduces Repeated Operations for
        Hemorrhage Following Major Abdominal Surgery. Invited Discussant. 80th
        Annual Meeting of the Pacific Coast Surgical Association. San Francisco,
        California February 2009.

     113.     Progress with New Formulations of Lyophilized Plasma. Advanced
        Technology Applications for Combat Casualty Care, St. Petersburg, Florida
        August 2009.

     114.     New Hemostatic Agents to Control Bleeding; Meet the Expert Luncheon.
        American College of Surgeons, Chicago, Illinois October 2009

     115.      Surgical Resident Perceptions of Trauma Surgery as a Specialty. Invited
        Discussant. American College of Surgeons, Chicago, Illinois October 2009

     116.    Resuscitation of Hemorrhagic Shock in 2009. Detroit Trauma
        Symposium. Detroit, Michigan November 2009

     117.       Modern Methods of Hemorrhage Control. Detroit Trauma Symposium.
        Detroit, Michigan November 2009

     118.     Splenectomy May Lead to a Persistent Hypercoagulable State after
        Trauma. North Pacific Surgical Association. Portland, OR November 2009

     119.    How Bad is Blood? 36th Annual Critical Care Symposium. Portland, OR
        November 2009.

     120.     Normal Saline. Prehospital Fluid Conference. Dallas, Texas January
        2010.




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     121.     Ethanol Consumption Increases Serum Testosterone in Healthy
        Volunteers. Pacific Coast Surgical Association. Maui, Hawaii February 2010.

     122.      The Impact of ABO-Identical Versus ABO-Compatible, Nonidentical
        Plasma Transfusion in Trauma Patients. (Invited Discussant) Pacific Coast
        Surgical Association. Maui, Hawaii February 2010.

     123.     Indications for and Risks of Pre-thawed Fresh Frozen Plasma. 8th World
        Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
        2010.

     124.      The Use of the Wittmann Patch Facilitates a High Rate of Fascial Closure
        in Severely Injured Trauma Patients and Critically Ill Surgery Patients. 8th World
        Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
        2010.

     125.     Point of Care Diagnostics for Assessment of Acute Coagulopathy. 8th
        World Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany
        March 2010.

     126.     Necrotizing Fasciitis. Trauma, Critical Care & Acute Care Surgery 2010.
        Las Vegas, Nevada March 2010.

     127.       Blood Volume Repletion is Optimally Performed in the ICU. Trauma,
        Critical Care & Acute Care Surgery 2010. Las Vegas, Nevada March 2010.

     128.     The Effects of Systemic Trauma on Coagulation. Trans Agency
        Coagulopathy in Trauma Workshop. National Institutes of Health. Bethesda,
        Maryland April 2010.

     129.      The Joint Theater Trauma System. CENTCOM Surgeon’s Conference.
        Qatar June 2010.

     130.      Blood Transfusions, Kindness or Murder. Grand Rounds Craig Joint
        Theater Hospital. Bagram, Afghanistan July 2010.

     131.     Joint Theater Trauma System, Applications to Civilian Systems. 96th
        Annual Congress of the American College of Surgeons. Washington DC,
        October 2010.

     132.     The Joint Theater Trauma System. Vancouver General Hospital Trauma
        Rounds. Vancouver, Washington December 2010.

     133.      Systemic Hemostatic Agents – Non-FDA Approved Uses. Public
        Workshop: Product Development Program for Interventions in Severe Bleeding
        Due to Trauma or Other Causes. FDA, Bethesda, Maryland December 2010.




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     134.     Acute Coagulopathy of Trauma. Combat Trauma Innovation. London,
        England January 2011.

     135.     Pro-Coagulant Hemostatic Agents. Combat Trauma Innovation. London,
        England January 2011.

     136.     Damage Control Resuscitation – Plasma and Plasma Products. London,
        England January 2011.

     137.      Colon Injuries, What Would Ogilvie Say in 2011. Eastern Association for
        the Surgery of Trauma. Naples, Florida January 2011.

     138.      Splenic Injuries – Is it Time for Conservative Management in Theater?
        Eastern Association for the Surgery of Trauma. Naples, Florida January 2011.

     139.     Point:Counter Point – Operative Fixation of Flail Chest and Rib Fractures.
        Western Trauma Associaiton. Big Sky, Montana March 2011.

     140.       Joint Theater Trauma System and the Blood Bank – 39th Annual Meeting
        of the Society of Armed Forces Medical Laboratory Scientists, Armed Services
        Blood Program Update. New Orleans, Louisiana March 2011.

     141.       Make it Stick: Coagulopathy Management 2011 and the Future. Trauma,
        Critical Care & Acute Care Surgery 2011. Las Vegas, Nevada April 2011.

     142.     Norma Saline: Is it Safe? Trauma, Critical Care & Acute Care Surgery
        2011. Las Vegas, Nevada April 2011.

     143.     Normal Saline Versus Lactated Ringer’s: Would the FDA Approve
        Normal Saline for Use in 2011? University of Texas Grand Rounds. Houston,
        TX May 2011.

     144.      The Joint Theater Trauma System – Washington, Oregon American
        College of Surgeons Chapter Meeting. Chelan, Washington June 2011

     145.      The Joint Theater Trauma System and How 9/11 Influenced It. 9/11 Ten
        Years Later. What Have We Learned? New York University, New York, New
        York. September 2011.

     146.      Blast Injuries: From the Field to the ICU, What You Need to Know.
        9/11 Ten Years Later. What Have We Learned? New York University, New
        York, New York. September 2011.




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     147.       Controversies Concerning the Use of Fresh Whole Blood in the Military
        Setting. 22nd International Congress of the Israel Society of Anesthesiologists.
        Tel Aviv, Israel. September 2011.

     148.     Conflicts in Iraq and Afghanistan: Lessons Learned. 22nd International
        Congress of the Israel Society of Anesthesiologists. Tel Aviv, Israel. September
        2011.

     149.      Blood Transfusions: The Rules Have Changed. 97th Annual American
        College of Surgeons Clinical Congress. San Francisco, California. October 2011.

     150.      What is Lyophilized Plasma? 97th Annual American College of Surgeons
        Clinical Congress. San Francisco, California. October 2011.

     151.      Novel Methods of Hemorrhage Control. 3rd Annual Southwest Trauma &
        Acute Care Symposium. Scottsdale, Arizona. November 2011.

     152.     Novel Blood Products for Treatment of Hemorrhagic Shock 3rd Annual
        Southwest Trauma & Acute Care Symposium. Scottsdale, Arizona. November
        2011.

     153.      The Acute Coagulopathy of Trauma, Diagnosis and Treatment. Trauma
        Care 2011. Columbus, Ohio. November 2011.

     154.      What is the Difference Between Trauma Centers? Appropriate Triage of
        Trauma Patients. Trauma Care 2011. Columbus, Ohio. November 2011.

     155.     The Year in Combat. Eastern Association for the Surgery of Trauma.
        Orlando, FL. January 2012.

     156.     The Current Status of Hemostatic Dressings. Combat Trauma Innovation
        2012. London, England. January 2012.

     157.     The Acute Coagulopathy of Trauma and its Treatment in 2012. Combat
        Trauma Innovation 2012. London, England. January 2012.

     158.      Lyophilized Plasma: Coming to a Hospital Near You. Combat Trauma
        Innovation 2012. London, England. January 2012.

     159.       Dilutional Coagulopathy, How to Measure and How to Correct. 41st
        Critical Care Congress. Houston, Texas. February 2012.

     160.     Low Volume Fluid Resuscitation. Prehospital Trauma Symposium.
        Harborview Medical Center. Seattle, Washington. February 2012.




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     161.      The Acute Coagulopathy of Trauma: Pathophysiology, Diagnosis and
        Novel Treatments. University of Maryland, Department of Surgery and Division
        of Trauma Grand Rounds. Baltimore, Maryland. February 2012.

     162.      Disasters Lessons Learned in the War on Terror. Trauma, Critical Care &
        Acute Care Surgery 2012. Las Vegas, Nevada. March 2012.

     163.     Resuscitation Redefined. Trauma, Critical Care & Acute Care Surgery
        2012. Las Vegas, Nevada. March 2012.

     164.      Blast Injuries from Battlefield to ICU. Trauma, Critical Care & Acute
        Care Surgery 2012. Las Vegas, Nevada. March 2012.

     165.      Lactaed Ringers versus Normal Saline for the Resuscitation of
        Hemorrhagic Shock. Current Topics in Trauma Care 2012. Midland, Texas,
        April 2012

     166.    The Use of Lyophilized Plasma in a Multi-injury Pig Model. Remote
        Damage Control Resuscitation. Bergen, Norway, June 2012.

     167.    Near Infrared Spectroscopy: Clinical and Research Uses. Remote
        Damage Control Resuscitation. Bergen, Norway, June 2012.

     168.      The Way Forward in Resuscitation Research. FDA Workshop on Benefits
        and Risks of Hydroxyethyl Starch for Resuscitation. Bethesda, Maryland.
        September 2012.

     169.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. Trauma Center Association of America. Charleston, South Carolina.
        October 2012.

     170.      Modern Methods of Hemorrhage Control, 2012 and Forward. Trauma
        Center Association of America. Charleston, South Carolina. October 2012.

     171.      Hypotensive Resuscitation; Death of Another Sacred Cow. American
        Heart Association. Los Angeles, CA. November 2012.

     172.     The Acute Coagulopathy of Trauma. West Virginia University
        Department of Surgery Grand Rounds. Morgantown, West Virginia. November
        2012.

     173.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. OPALS Prehospital Research Group Meeting. Ottawa, Canada.
        November 2012.




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     174.     Hypotensive Resuscitation, Progress Report from the Resuscitation
        Outcomes Consortium. OPALS Prehospital Group Meeting. Ottawa, Canada.
        November 2012.

     175.      Initial Management of the Trauma Patient. Trauma & Emergency
        Surgery. American Austrian Foundation. Salzburg, Austria. January 2013.

     176.     Considerations in Penetrating Trauma. Trauma & Emergency Surgery.
        American Austrian Foundation. Salzburg, Austria. January 2013.

     177.      Damage Control Surgery. Trauma & Emergency Surgery. American
        Austrian Foundation. Salzburg, Austria. January 2013.

     178.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. February in Phoenix Trauma Symposium. February 2013.

     179.    Blast Injury: What You Need to Know. February in Phoenix Trauma
        Symposium. Phoenix, Arizona February 2013.

     180.     Frozen Deglycerolized Red Blood Cells are Superior to Standard Liquid
        Red Blood Cells. Transfusion 2013. Phoenix, Arizona March 2013.

     181.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. Arkansas Trauma Conference. Little Rock, Arkansas April 2013

     182.       Modern Methods of Hemorrhage Control. Arkansas Trauma Conference.
        Little Rock, Arkansas April 2013

     183.       Major Venous Injuries Should Always be Repaired. Austin Trauma &
        Critical Care Conference. Austin, Texas May 2013

     184.      Topical Hemostatic Agents. Austin Trauma & Critical Care Conference.
        Austin, Texas May 2013

     185.      Novel Blood Transfusion Strategies. John Paul Pryor Oration, University
        of Pennsylvania. Philadelphia, Pennsylvania June 2013

     186.     Novel Methods of Hemorrhage Control. University of Pennsylvania
        Trauma Grand Rounds. Philadelphia, Pennsylvania June 2013

     187.     Resuscitation 2013. World Trauma Symposium. Las Vegas, Nevada
        September 2013

     188.     Modern Methods of Hemorrhage Control. World Trauma Symposium.
        Las Vegas, Nevada September 2013




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     189.     Adjunctive Therapy for Coagulopathy is Superior. Trauma Quality
        Improvement Conference. Reno, Nevada November 2013

     190.     The Use of Thrombelastography to Guide Treatment of Coagulopathy.
        Thrombelastography Symposium. Moscow, Russia November 2013

     191.     Blood Transfusions 2014. Burlington Northern Visiting Lectureship in
        Trauma. University of Texas Southwestern Medical Center. Dallas, Texas.
        December 2013.

     192.      Enoxaparin “Tis is Better to Miss a Dose or Never to Have Started it at
        All?” Trauma, Critical Care & Acute Care Surgery 2014. Las Vegas, Nevada.
        March 2014. Presented from Shank, Afghanistan.

     193.      PCC and Fibrinogen, Better Than Plasma? Trauma, Critical Care & Acute
        Care Surgery 2014. Las Vegas, Nevada. March 2014. Presented from Shank,
        Afghanistan.

     194.       Management of Coagulopathy in Trauma – What Do We Know and What
        is in Store? Critical Care Summer Session. University of California San Diego.
        San Diego, California. July 2014.

     195.      Novel Blood Transfusion Strategies. 2nd Annual Richard B. Fratianne
        Endowed Lectureship in Trauma. MetroHealth Medical Center, Department of
        Surgery Case Western Reserve University. Cleveland, Ohio. July 2014.

     196.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
        Trauma Patients: Results of a Prospective Randomized Pilot Trial. Military
        Health Systems Research Symposium. Fort Lauderdale, Florida. August 2014.

     197.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
        Trauma Patients: Results of a Prospective Randomized Pilot Trial. American
        Association for the Surgery of Trauma. Philadelphia, Pennsylvania. September
        2014.

     198.      Is There a TEM Parameter Cut Off That Could Be Used To Withhold
        Transfusion of Blood Product? Consensus Conference on TEM Based
        Transfusion Guidelines for Early Trauma Resuscitation. Philadelphia,
        Pennsylvania. September 2014.

     199.     Innovative Approaches to Hemorrhagic Shock. SEAHEC 26th Annual
        Trauma & Emergency Symposium. Wilmington, North Carolina. February 2015.

     200.     Damage Control Resuscitation. University of British Columbia Grand
        Rounds. Vancouver, British Columbia. February 2015.




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     201.       Frozen Deglycerolized Red Blood Cells are Safe and Effective in Trauma
        Patients. American Surgical Association. San Diego, California, April 2015.

     202.      Frozen as Fresh Red Blood Cells for Remote Damage Control
        Resuscitation. Trauma, Hemostasis & Oxygenation Research Conference.
        Bergen, Norway. June 2015.

     203.      When and How Should Tranexamic Acid be Given in the Prehospital
        Environment? Resuscitation. Trauma, Hemostasis & Oxygenation Research
        Conference. Bergen, Norway. June 2015.

     204.       The Advantages of Dried Plasma for Use in Austere Conditions.
        International Plasma Fractionation Association. Stellenbosch, South Africa.
        December 2015.

     205.       Lessons from the Battlefield: How Military Trauma Care Transforms
        Civilian Care in the United States. Marquam Hill Lecture Series. Portland, OR.
        February 2016.

     206.     Blood Transfusions: A Frontier We Have Just Begun to Explore.
        Laerdahl Memorial Award Lecture. Society of Critical Care Medicine. Orlando,
        FL. February 2016.

     207.     Blood Transfusions 2016. Swiss Army Day. Bern, Switzerland. March
        2016.

     208.      Blood Transfusions: An Old Therapy with Exciting New Frontiers. Duke
        University Department of Surgery Grand Rounds. October 2016.

     209.     Damage Control Resuscitation. International Society of Blood Therapies.
        Copenhagen, Denmark. June 2017.

     210.      Blood Component Therapy and Major Trauma Transfusion. Combined
        US Army and Qatari Military Trauma Casualty Care Seminar. Doha, Qatar.
        February 2018.

     211.      Novel Blood Products Now and Into the Future. R. Arnold Griswold MD
        Lectureship. Louisville, Kentucky. March 2019.

     212.     TXA Randomized Comparative Trial Data Review from OHSU. Trauma,
        Hemostasis & Oxygenation Research. Bergen, Norway. June 2019.

     213.    Prehospital Tranexamic Acid for Use in TBI. Tranexamic Acid in Trauma
        Symposium. Melbourne, Australia. July 2019.




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     214.      Dosing of Enoxaparin, Do We Know What We Are Doing. International
        Association for Trauma and Intensive Care. Krakow, Poland. August 2019.

     215.       A Randomized Trial Comparing Two Doses of TXA to Placebo in
        Patients with Moderate to Severe Traumatic Brain Injury. Royal London Hospital
        Trauma Masters Course. London, England. September 2019.

     216.     The History of Blood Transfusion: Where Have We Been and Where are
        We Going? John Ryan Lectureship, Virginia Mason Hospital. Seattle,
        Washington. September 2019.

     217.      Whole Blood Transfusion in Trauma. Mae Fae Yung University. Chiang
        Rai Thailand. November 2019.

     218.      Blood Transfusion, Where Have We Been and Where are We Going.
        Royal Perth University Grand Rounds. Perth, Australia. November 2019

     219.      Stem Cells in Trauma. Western Australia Trauma Symposium. Perth,
        Australia. Perth Australia. November 2019.

     220.     Tranexamic Acid for Traumatic Brain Injury. Western Australia Trauma
        Symosium. Perth, Australia. November 2019.

     221.     Stem Cells in Trauma. 12th Annual Founders’ Basic Science Lecture.
        Western Trauma Association. Sun Valley, Idaho February 2020.

     222.     Stem Cells in Trauma, the Dawn of a New Era. 3rd Annual Kenneth L.
        Mattox Annual Lecture. Baylor College of Medicine. Houston, TX February
        2021.


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        1. Batig TS, Batig AL. Obstetric Trauma and Surgical Emergencies in the
           Military Operational Environment. Curr Trauma Rep. 2018; 4:1-8.

        2. Bhattacharya, B., Pei, K., Lui, F. et al. Caring for the Geriatric Combat
           Veteran at the Veteran Affairs Hospital. Curr Trauma Rep 2017; 3: 62-68.

        3. Eastridge BJ. Injuries to the Abdomen from Explosion. Curr Trauma Rep.
           2017; 3: 69-74.

        4. Plackett TP. Performance Improvement in Combat Casualty CareCurr Trauma
           Rep. 2018; 4: 71-76.




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        5. Kuckelman J, Cuadrado D, Martin M. Thoracic Trauma: a Combat and
           Military Perspective.Curr Trauma Rep. 2018; 4: 77-87.

        6. Kuckelman J, Derickson M, Long, WB, et al. MASCAL Management from
           Baghdad to Boston: Top Ten Lessons Learned from Modern Military and
           Civilian MASCAL Events. Curr Trauma Rep. 2018; 4: 138

        7. Gurney JM, Holcomb JB. Blood Transfusion from the Military’s Standpoint:
           Making Last Century’s Standard Possible Today. Curr Trauma Rep. 2017; 3:
           144-155.

        8. Walker P, Bozzay J, Bell R, et al. Traumatic Brain Injury in Combat
           Casualties.Curr Trauma Rep. 2018; 4: 149-159.

        9. Davis BL, Martin, MJ, Schreiber M. Military Resuscitation: Lessons from
           Recent Battlefield Experience.Curr Trauma Rep. 2017; 3: 156-163.

        10. Mendoza J, Mallari-Ramos P, Thoren K, et al. Interventional Radiology in the
            Combat Environment. Curr Trauma Rep. 2017; 3: 249-256.

        11. Yun HC, Blyth DM, Murray CK. Infectious Complications After Battlefield
            Injuries: Epidemiology, Prevention, and Treatment. Curr Trauma Rep. 2017;
            3: 315-323.

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        1. Feliciano DV, Mattox KL, Moore EE, Alam HB, Ball CG, Inaba K, Kozar R,
           Livingston DH, Schreiber MA. Trauma. McGraw Hill. NY, NY. 2020




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